 STATEOFOIDO                          )          COURT OF COMMON PLEAS
                                      ) ss.      CRIMINAL DIVISION
 COUNTY OF CUYAHOGA                  )
                                     )
 CITY OF GARFIELD HTS                )
                                           SEARCH WARRANT

 TO: CHIEF OF POLICE OF TIIE GARFIELD HTS POLICE DEPARTMENT and/or
 DETECTIVE MICHAEL GRIFFIS, A MEMBER OF TIIE SEALE NARCOTICS TASK
 FORCE and/or ANY MEMBER OF SAID DEPARTMENT, or OTHER OFFICERS AS
 AUTHORIZED


    Whereas there has been filed with me an affidavit, a copy of which is attached
 hereto, designated as Exhibit A and incorporated herein as though fully rewritten
 wherein the affi.ant avers that he believes that on the premises, curtilage and
common storage areas, and persons therein, known as: 5820 Llnda Lane,
Garfield Hts, Cuyahoga County, Ohio 44125 and further described as a single
story single family home, having white siding exterior, having a walkway leading
to the front door, having a small set of steps leading to the front door, located on
the west side of Linda Lane, and having a detached garage, and further identified
as Cuyahoga County parcel number 543-18-010. There is now being unlawfully
kept, concealed and possessed the following evidence of criminal offense:

       Heroin, fentanyl, and other narcotic drugs and/or other
      paraphernalia used in the taking of drugs and/or preparation of
      illegal drugs for sale, use or shipment, records of illegal
      transactions, articles of personal property, papers documents
      tending to establish the identity of persons in control of the
      premises and safes. Contraband including but not limited to money,
      guns, scales, plastic bags, wax bags, cigarette rolling papers,
      computers, computer software, answering machine tapes, video
      tapes, and all other evidence of the violation of the Ohio Drug Laws,
      to wit: 2925.03 and 2925.11 of the Ohio Revised Code et seq.


  I am satisfied that there is probable cause to believe that the property
described is being concealed on the above described premises, curtilage, commo~
storage areas, and all persons present therein, and that grounds for issuance of
the search warrant exist.


YOU ARE HEREBY COMMANDED IN THE NAME OF THE STATE OF OHIO
with the necessary and proper assistance, to serve this warrant and search
forthwith the above described premises, 5820 Linda Lane, Garfield Hts,
Cuyahoga County, Ohio 44125 its curtilage and common storage areas, any and
all vehicles located thereon and in the control of those inside said residence, and
any person present therein for the property specified. This warrant must b,s;.-,:.,,..,-.....-:
executed within (3) days of the date hereof and may be executed a ni
property, or any part there of be found there you are commanded to seize it,
leaving a copy of this warrant and a receipt of the property taken, prepare an
inventory of the property seized, return this warrant to the undersigned or any
other judge of the Court of Common Pleas, Cuyahoga County and the bring the
property found in such search forthwith before said judge, or some other judge or
magistrate of the county.


Given under my hand this      /'/M

                                       JUDGE, COURT OF C MMON PLEAS
                                       CUYAHOGA COUNTY, OHIO




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                                            EXHIBIT A

 STATEOFOIDO                        ) SS.    COURT OF COMMON PLEAS
                                    )          CRIMINAL DIVISION
 CUYAHOGA COUNTY                    )
                                    )
 CITY OF GARFIELD HTS               )
                                            AFFIDAVIT FOR SEARCH WARRANT

   Before me a judge in the Court of Common Pleas, Cuyahoga County Ohio,

 personally appeared the undersigned Detective Michael Griffis who being duly

 sworn, deposes and says that he is a member of the SEALE Narcotics Task Force,

 a member of the Solon Police Department, and that he has good cause to believe

 that on the premises, curtilage, and common storage areas and all vehicles

 located thereon and persons located therein, known as: 5820 Linda Lane,

 Garfield Hts, Cuyahoga County, Ohio 44125 and further described as a single

story single family home, having white siding exterior, having a walkway leading

to the front door, having a small set of steps leading to the front door, located on

the west side of Linda Lane, and having a detached garage, and further identified

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      tending to establish the identity of persons in control of the
      premises and safes. Contraband including but not limited to money,
      guns, scales, plastic bags, wax bags, cigarette rolling papers,
      computers, computer software, tracking numbers, answering
      machine tapes, video tapes, and all other evidence of the violation
      of the Ohio Drug Laws, to wit: 2925.03 and 2925.11 of the Ohio
      Revised Code et seq.


The facts upon which the affiant bases such belief are as follows'
 1.    .Affiant is a member of the Solon Police Department and has been a
       police officer for the past fourteen years. Affiant has worked as a
       member of the S.E.A.L.E. SWAT team for the past 9 years and is
       currently assigned to the S.E.A.L.E Narcotics Task Force.
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 2.    Affiant has received training in the recognition of controlled
       substances, the method of packaging controlled substances on the
       street and the manner in which sellers of controlled substances operate
       and the detection of narcotics trafficking at his basic course in the Ohio
       State Highway Patrol Academy.

 3.    Affiant attended Kent State University, receiving a B.S. in Justice
       Studies, and relevant course work included Substance Abuse, Criminal
       Law, and Criminal Justice, amongst others.

4.    Affiant avers that he has received training in Criminal Patrol and Drug
      Interdiction from the North Coast Polytechnic Institute. Affiant has
      also received training in Drug Investigations from Forensic Training
      Services Inc, as well as Patrol Drug Operations, and Criminal Gang
      Awareness from the Ohio Peace Officer Training Academy.

5.    Affiant has conducted and/or participated in investigations into illicit
      drug trafficking operations, which were resultant in state and local
      prosecutions, and has interviewed numerous drug traffickers and drug
      abusers during these and other investigations.

6.    Affiant has conducted hundreds of investigations into drug traffickers
      and drug abusers. Affiant states that he has made in excess of four
      hundred and fifty (450) arrests for violations of the State and Local
      drug laws. Affiant has participated in the execution of narcotic search
      warrants, and participated in controlled purchases of narcotics using
      confidential informants.

7.    Affiant states he has been involved in the execution of numerous search
      warrants, arrest warrants and seizure warrants related to narcotics
      trafficking. These warrants covered the search of the locations ranging
      from residences of targets, their associates, and relatives used by
      narcotics traffickers as "fronts" to legitimize their activities utilized by
      narcotic traffickers for the purpose of securing and secreting the
      proceeds from illegal drug sales. Affiant was responsible for arresting
      suspects, as well as the processing of the seized evidence. Materials
      searched for and recovered in these locations have included narcotics,
      narcotic paraphernalia, records pertaining to the purchase, sale and
      distribution of narcotics, records relating to the expenditure of profits
      realized from narcotics distribution, currency, and the various assets
      purchased from narcotics tr~cking proceeds~
8.     Based on the above training and experience, affiant is familiar with the
       modus operandi of persons involved in the illegal distribution of
       controlled substance as well as the terminology used by persons
       involved in the illegal distribution of controlled substances.

9.     Affiant states that in March 2019, SEALE Detectives were advised by a
       Confidentiual Reliable Informant (CRI) about a black male selling
       heroin at various locations within Cuyahoga County, specifically in and
       around Garfield Hts. The CRI stated that the male went by "Boo Gotti",
       and drove a black pick up truck and most recently a silver SUV bearing
       Ohio registration "GMC4021". The CRI stated that the male used the
       phone number of (216) 315 6179.

10.   Affiant states that Detectives ran the license plate of "GMC4021"
      through LEADS, and discovered that was a rental vehicle from
      Enterprise. Detectives learned that the individual that rented the
      vehicle was a female by the name of Tiffany Jones, who gave an address
      of 5820 Linda Lane, Garfield Hts (Cuyahoga) Ohio 44125 (said
      residence to be searched). Detectives ran the address of 5820 Llnda
      Lane through Accurint, and discovered that a male by the name of
      Deandre Allen was associated with that address as well. SEALE
      Detectives are familiar with Allen, having arrested him for heroin
      trafficking in 2012.

11.   Affiant states that SEALE Detectives showed the CRI a BMV image of
      Allen, and the CRI positively identified Allen as the male going by "Boo
      Gotti" selling narcotics.

12.    Affiant states that in the past 48 hours, 2019, Detectives met with this
       CRI in an attempt to make a controlled purchase of heroin from Allen.
       The CRI was searched and found to be free of drugs, money, and
       contraband, and was provided an amount of pre-recorded police buy
       money. The CRI was provided with a wireless, digital covert camera, as
      well as a wireless digital recorder in an attempt to record the drug sale.
      The CRI contacted him at 216 315 6179, and he agreed to sell the CRI
      an amount of narcotics. The buy location was set to take place within
      Cuyahoga County. Detective Griffis followed the CRI directly to the buy
      location. Detective Sara had set up surveillance on the residence
      located at 5820 Linda Lane, Garfield Hts (Cuyahoga) Ohio 44125 (said
      residence to be searched) prior to and during the time when the CRI
      was contacting Allen. The rental vehicle - Ohio registration GMC4021,
      a 2018 Toyota SUV - was parked in the driveway during this time. After
      the buy location was made, a short time later, Detective Sara observed
      Allen leave the residence and drive directly to the buy location. The
      CRI arrived, and met with Allen. The CRI gave him the pre-recorded
      police buy money, and in t:m Allen sold the CRI an amount oo/J
        suspected heroin/fentanyl. After the controlled buy was complete, the
        CRI left the buy location, met with Detective Griffis, and immediately
        turned over the purchased narcotics to Detective Griffis. The CRI was
        searched again and found to be free of money, drugs, and contraband.

 13.    Affiant states that the purchased narcotics field tested positive for
        fentanyl via the Nark II test kit, and will be sent to a certified
        laboratory for further analysis.

 14.    Affiant states that Detectives have observed the vehicle utilized by
        Allen (Ohio registration GMC4021) parked in the driveway of 5820
        Linda Lane, Garfield Hts (Cuyahoga) 44125 (said residence to be
        searched) in the early morning hours and late evenings after the
        controlled buy.

 15.   Affiant states that Detectives obtained a Computerized Criminal
       History (CCH) pertaining to Allen, and discovered that he has been
       charged with Possession of Crack Cocaine, Trafficking in Crack
       Cocaine, Possession of Criminal Tools, Aggravated Robbery,
       Possession of Drugs, Obstructing Official Business, Drug Possession,
       Trafficking Offenses, Trafficking in Drugs, Contempt of Court, Carrying
       Concealed Weapons, Convey Prohibited Items to Detention Facility,
       Attempted Drug Possession, Drug Abuse, Probation Violation, and
       Having Weapons While Under Disability.

16.    .Affiant avers that the above mentioned CRI has been made reliable in
       that CRI has provided information about drug traffickers that has been
       corroborated by other sources, as well as locations where narcotics are
       sold from that have also been corroborated by other sources, and has
       worked with the SEALE Narcotics Task Force on other successful
       narcotics investigations.

17.    Affiant states that while different addresses may be associated with
       Deandre Allen, and that this individual may use different addresses on
       various court documents and other documents, the affiant knows that
       individuals involved in drug trafficking and other criminal enterprises
       often use multiple addresses, including addresses of friends or
       relatives, in an attempt to evade detection from law enforcement.
       Affiant states that it is common for those involved in the sale of
       narcotics to use false names, or nicknames, in an attempt to evade law
       enforcement as well as in an attempt to hide their identity.

18.    Affiant states that through training and experience, those that are
       involved in the narcotics trade commonly use coded language when
       discussing narcotics and narcotics transactions over the phone and
       through text message, and that these conversations rarely clearly
       identify the true nature of the ;arcotic conspiracy, including but no1t'
        limited to what narcotics are being sold, where the narcotics are to be
        sold from, and who is involved.

 19.    Due to the above determined facts, affiant believes that there is
        probable cause to believe persons in the above location (5820 Linda
        Lane, Garfield Hts (Cuyahoga) Ohio 44125) are and have been engaged
        in narcotics trafficking on a continuing basis in the day and night
        season.

 20.    Affiant has participated with other members of his unit in an ongoing
        investigation into the drug trafficking operations described above.
        Affiant has not always personally observed everything described above,
        but that which he did not personally observe was described to him by
        the other investigating officers and or agents who did.

 21.    In the experience of affiant, it is common for drug traffickers to maintain
        multiple premises from which their illegal business is conducted. Drug
        traffickers also store narcotics, narcotics proceeds and records relating to
        the trafficking of narcotics at their residences and/or businesses, the
        residences and/or businesses of their relatives and co-conspirators and
        other locations over which they have control and access.

22.    In the experience of affiant, it is common for drug traffickers to maintain
       for extended periods of time books, records, receipts, notes, ledgers,
       customer account balances, airline tickets, money orders, cashier(s)
       checks, wire transfer records, passports, and other records relating to the
       procurement, distribution, storage, and transportation of controlled
       substances. These records include the telephone numbers of customers,
       the amount of controlled substances distributed to various customers,
       along with running totals of debts owed by those customers. Drug
       traffickers also maintain paraphernalia utilized to weigh, cut and package
       controlled substances. These aforementioned items are commonly
       maintained in locations to which narcotic traffickers have frequent and
       ready access, i.e. homes, business, and automobiles.

23.    That the aforementioned books, records, receipts, notes, ledgers, etc., are
       maintained for extended periods of time where the drug traffickers have
       ready access to them.

24.    In the experience of affiant, it is common for large scale narcotics
       traffickers to maintain on hand large amounts of U.S. currency in order
       to maintain and finance their on-going narcotics business.

25.    In the experience and training of affiant, it is common for large scale drug
       traffickers to secrete contraband, proceeds of drug sales, and records of
       drug transactions in secure locations within their residence, businesses'

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        automobiles and other premises for ready access and to conceal them
        from law enforcement authorities.

 26.    In the experience and training of affiant, persons involved in large scale
        drug trafficking conceal within their residence, businesses and other
        premises to which they have access and/or dominion or control, caches
        of drugs, large amounts of currency, financial records and instruments,
        precious metals, jewehy, automobile titles, proceeds of drug sales and
        other items of value acquired from engaging in drug trafficking activities.

 27.    In the experience and training of affiant, when drug traffickers amass
        large amounts of proceeds from the sales of drugs, the traffickers attempt
        to disguise and legitimize these funds by utilizing domestic and foreign
        banks, other financial institutions, gambling casinos, securities and real
        estate brokers, professional service providers such as accountants,
        attorneys and financial advisors, "shell" corporations and business
        "fronts," and by conducting transactions utilizing cashier's checks, wire
        transfers, money drafts, letters of credit, credit, debit and ATM cards and
        other financial instruments. Records of these activities are commonly
        kept for extended periods of time in the drug traffickers' residence,
        businesses and other premises over which they have control and access
        and at which they receive mail and delivery service items.

 28.   In the experience and training of affiant, drug traffickers commonly
       maintain for extended periods of time records of addresses, telephone
       numbers, passwords, codenames, account numbers and other data
       relating to their criminal associates and narcotics proceeds in books,
       papers, folders, briefcases, desks, safes and electronic and computerized
       systems.

29.    In the experience and training of affiant, during drug transactions,
       traffickers take or cause to be taken photographs of themselves, their
       associates, their property and their product. Drug traffickers usually
       maintain these photographs at their residences and/or other properties
       that they control.

30.    In the experience and training of affiant, drug traffickers commonly use
       electronic equipment to aid them in their drug trafficking activities. This
       equipment includes, but is not limited to, digital display pagers, mobile
       telephones, speed dialers, electronic telephone books, electronic date
       books, computers, computer memory disks, money counters, electronic
       surveillance equipment, eavesdropping equipment, police radio
       scanners, and portable communication devices.

31.    In the experience and training of affiant, drug traffickers commonly use
       their residences, business locations, automobiles and other locations over
       which they have control to st:re packaging and measuring equipment
        such as, plastic bags, manila envelopes, scales, weights, heat sealing
        devices, adhesive tape, etc. in the possession, dilution, and/or
        distribution of narcotic drugs and other controlled substances.

 32.    In the experience and training of affiant, drug traffickers often purchase
        and/or title their assets in fictitious names, aliases or the names of
        relatives, friends or business entities, to avoid detection by law
        enforcement.

33.     In the experience and training of affiant, drug traffickers frequently
        maintain firearms to protect both the controlled substances and proceeds
        derived from their sale from other narcotics traffickers and law
        enforcement authorities.

34.    In the experience and training of affiant, it is common for individuals who
       traffic in illegal narcotics to maintain or keep narcotics at one location,
       and sell from another location, away from their home in order to avoid
       police detection.

35.    In the experience and training of affiant, it is common for individuals who
       traffic in illegal narcotics to have home safes in order to store documents
       and all items relating to the sale of illegal narcotics, as well as other
       contraband.

36.    In the experience and training of affiant, persons who traffic in illegal
       drugs frequently keep records of illegal transactions, including
       computers and computer files and discs, and evidence of
       communications used in the furtherance of drug trafficking activity,
       including, but not limited to, pagers, cellular telephones, answering
       machines, and answering machine tapes.

37.    In the experience and training of affiant, persons who traffic in illegal
       drugs frequently keep weapons, such as firearms, on or about their
       person, or within their possession, for use against law enforcement
       officials, as well as other citizens. Therefore, it is necessary to search all
       persons found on the premises for the safety of the executing officers.

38.    In the experience and training of affiant, narcotic drugs are frequently
       carried or concealed on the person of people who are present at locations
       where drugs are used, possessed, kept, or being sold and the size of
       useable quantities of drugs are small, making them easy to conceal on
       one's person. Therefore, it is necessary to search all persons found on the
       premises'




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   39.   Based on these facts, affiant avers that he has probable cause and reason
         to believe, and does believe that the above described items will be found
         within the above described premises (5820 Linda Lane, Garfield Hts
         (Cuyahoga) Ohio 44125) its curtilage and common areas, vehicles
         registered to or in the control of parties located inside said residence,
         garage and out building areas, and all persons located within the above
         mentioned residence.

   40.   Affiant avers that it is urgently
         premises be searched in the  ni~;
                                              -1i;'ary    that the above mentioned
                                                       forthwith to prevent the above
         named property from being concealed or removed so as not to be found
         and for the safety of the executing officers.




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Sworn to before me and subscribed in my presence this              J(I/.   day of March
2019.




                                           JUDGE, COTJR*6F COMMON PLEAS
                                           CUYAHOGACOUNIY,OHIO




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